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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA         )
                                 )
          v.                     ) Criminal No. 02-10261-RWZ
                                 )
                                 )
CHEPIEL SANCHEZ                  )

                GOVERNMENT’S RESPONSE TO DEFENDANT’S
               SUPPLEMENT TO RE-SENTENCING MEMORANDUM


     The government has just received the defendant’s Supplement

to his Re-sentencing Memorandum.        Nothwithstanding that this

matter has been scheduled for weeks, the defendant has waited to

the very eve of the hearing to file a pleading that suggests

(once again) that the ex post facto clause precludes the Court

from sentencing the defendant to a sentence exceeding 71 months.

     The government has previously addressed the issues when they

were first raised post-Blakely.     See Government’s Supplemental

Memorandum Re: Ex Post Facto and Double Jeopardy Issues (November

9, 2004) (Docket #111).    Because the arguments set forth

therein–-that the ex post fact clause has no application to the

present case, where the defendant knew from the beginning of the

case that he faced a sentence of up to forty years on a single

count and there has been no legislative enactment increasing that

potential punishment–applies equally post-Booker as it did post-

Blakely, the government relies on the points and authorities set


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forth in its earlier memorandum and asseerts that the ex post

facto argument is meritless.



                                        Respectfully submitted,

                                        MICHAEL J. SULLIVAN
                                        United States Attorney

                                   By:/s John A. Wortmann, Jr.
Dated: February 22, 2005              JOHN WORTMANN, JR.
                                      Assistant U.S. Attorney
                                      617-748-3207




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